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 1                                            HONORABLE ROBERT S. LASNIK
 2
     MICHAEL E. McFARLAND, JR., #23000
 3
     Evans, Craven & Lackie, P.S.
 4   818 W. Riverside, Suite 250
 5   Spokane, WA 99201-0910
 6
     (509) 455-5200; fax (509) 455-3632
     Attorneys for Defendant
 7
 8                     IN UNITED STATES DISTRICT COURT
 9
                  FOR THE WESTERN DISTRICT OF WASHINGTON
10    ANA LUGO,
11
12                            Plaintiff,       Case No. 2:21-cv-00147-RSL
      vs.
13
14    HIGHLINE SCHOOL DISTRICT,                DEFENDANT’S ANSWER TO
15                                             PLAINTIFF’S COMPLAINT AND
                              Defendant.       DEMAND FOR JURY
16
17          COMES NOW Defendant HIGHLINE SCHOOL DISTRICT (“HSD”) by
18
     and through its attorneys of record of the law firm of Evans, Craven & Lackie,
19
20   P.S., and enter this Answer to Plaintiff’s Complaint for Violations of USERRA,
21
22
     Demand for Damages and Trial by Jury, as follows:
23                          I. PARTIES AND JURISDICTION
24
25
            1.1   Admit.
26          1.2   Admit.
27
28
29
     ANSWER TO PLAINTIFF’S COMPLAINT AND
30   DEMAND FOR JURY - page 1                            Evans, Craven & Lackie, P.S.
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 1         1.3    Without admitting the truth of the “acts complained of,” HSD
 2
     admits that the alleged acts set forth in the Complaint occurred in the Western
 3
 4   District of Washington.
 5
 6
           1.4    Admit.
 7         1.5    Admit.
 8
 9
           1.6    Admit.
10                                         II. FACTS
11
12         2.1    HSD incorporates the above paragraphs as set forth verbatim herein.
13
           2.2    Admit.
14
15         2.3    HSD admits that it first hired Plaintiff in November 2005 as a tutor
16
     and paraeducator. HSD admits that it then hired Plaintiff in November 2006 and
17
18   November 2007 as a tutor.
19
          2.4     HSD admits that in December 2007 it hired Plaintiff as a
20
21   paraeducator and an office assistant. That position lasted through June 2008.
22
     HSD admits the remaining allegations contained in Paragraph 2.4 of Plaintiff’s
23
24   Complaint.
25
           2.5    Admit.
26
27         2.6    Admit.
28
           2.7    Admit.
29
     ANSWER TO PLAINTIFF’S COMPLAINT AND
30   DEMAND FOR JURY - page 2                              Evans, Craven & Lackie, P.S.
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           Case 2:21-cv-00147-RSL Document 8 Filed 03/22/21 Page 3 of 10



 1         2.8    HSD denies the allegation contained in Paragraph 2.8 of Plaintiff’s
 2
     Complaint.
 3
 4         2.9    Admit.
 5
 6
           2.10 HSD is without sufficient information to admit or deny the
 7   allegations contained in Paragraph 2.10 of Plaintiff’s Complaint and therefore
 8
 9
     deny the same.
10         2.11 HSD denies the allegations contained in Paragraph 2.11 of
11
12   Plaintiff’s Complaint.
13
           2.12 HSD denies the allegations contained in Paragraph 2.12 of
14
15   Plaintiff’s Complaint.
16
           2.13 HSD denies the allegations contained in Paragraph 2.13 of
17
18   Plaintiff’s Complaint.
19
           2.14 HSD denies the allegations contained in Paragraph 2.14 of
20
21   Plaintiff’s Complaint.
22
           2.15 HSD denies the allegation contained in Paragraph 2.15 of Plaintiff’s
23
24   Complaint.
25
           2.16 HSD is without sufficient information to admit or deny the
26
27   allegations contained in Paragraph 2.16 of Plaintiff’s Complaint and therefore
28
     deny the same.
29
     ANSWER TO PLAINTIFF’S COMPLAINT AND
30   DEMAND FOR JURY - page 3                             Evans, Craven & Lackie, P.S.
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 1         2.17 HSD is without sufficient information to admit or deny the
 2
     allegations contained in Paragraph 2.17 of Plaintiff’s Complaint and therefore
 3
 4   deny the same.
 5
 6
           2.18 HSD is without sufficient information to admit or deny the
 7   allegations contained in Paragraph 2.18 of Plaintiff’s Complaint and therefore
 8
 9
     deny the same.
10         2.19 Admit.
11
12         2.20 Admit.
13
           2.21 HSD is without sufficient information to admit or deny the
14
15   allegations contained in Paragraph 2.21 of Plaintiff’s Complaint and therefore
16
     deny the same.
17
18         2.22 HSD admits that in July 2019, Plaintiff called Laura Castaneda and
19
     advised her that her military leave had been extended to January 2020. HSD is
20
21   without sufficient information to admit or deny the remaining allegations in
22
     Paragraph 2.22 and therefore denies the same.
23
24         2.23 HSD admits that on November 4, 2019, Plaintiff emailed Candy
25
     Yarbrough a letter “explaining [her] symptoms” and asking how to get the letter
26
27   to her neurologist. HSD admits that Ms. Castaneda thereafter emailed Plaintiff
28
     as depicted in Paragraph 2.23 of Plaintiff’s Complaint.
29
     ANSWER TO PLAINTIFF’S COMPLAINT AND
30   DEMAND FOR JURY - page 4                              Evans, Craven & Lackie, P.S.
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 1         2.24 HSD is without sufficient information to admit or deny the
 2
     allegations contained in Paragraph 2.24 of Plaintiff’s Complaint and therefore
 3
 4   deny the same.
 5
 6
           2.25 HSD denies the allegations contained in Paragraph 2.25 of
 7   Plaintiff’s Complaint.
 8
 9
           2.26 HSD denies the allegations contained in Paragraph 2.26 of
10   Plaintiff’s Complaint.
11
12         2.27 HSD admits that Laura Castaneda had a phone conversation with
13
     Plaintiff around February 2020, but denies the allegations contained in Paragraph
14
15   2.27 of Plaintiff’s Complaint regarding the content of that conversation.
16
           2.28 HSD denies the allegations contained in Paragraph 2.28 of
17
18   Plaintiff’s Complaint.
19
           2.29 Admit.
20
21         2.30 HSD denies the allegations contained in Paragraph 2.30 of
22
     Plaintiff’s Complaint.
23
24         2.31 HSD denies the allegations contained in Paragraph 2.31 of
25
     Plaintiff’s Complaint.
26
27         2.32 Admit.
28
29
     ANSWER TO PLAINTIFF’S COMPLAINT AND
30   DEMAND FOR JURY - page 5                               Evans, Craven & Lackie, P.S.
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 1         2.33 HSD denies the allegations contained in Paragraph 2.33 of
 2
     Plaintiff’s Complaint.
 3
 4         2.34 Admit.
 5
 6
           2.35 HSD is without sufficient information to admit or deny that
 7   DOL/VETS conducted an investigation, but admit that DOL/VETS incorrectly
 8
 9
     concluded that HSD violated USERRA.
10         2.36 HSD admits that the District then offered to reemploy Ms. Lugo.
11
12   HSD denies the remaining allegations contained in Paragraph 2.36 of Plaintiff’s
13
     Complaint.
14
15         2.37    Paragraph 2.37 of Plaintiff’s Complaint consists of legal
16
     conclusions to which no response is deemed necessary. To the extent a response
17
18   is deemed necessary, HSD deny all allegations in this paragraph.
19
           2.38 Admit.
20
21                              III.   CAUSES OF ACTION
22
          CAUSE OF ACTION NO. 1- VIOLATION OF 38 U.S.C. § 4312-4313
23
24         3.1    Paragraph 3.1 of Plaintiff’s Complaint consists of legal conclusions
25
     to which no response is deemed necessary. To the extent a response is deemed
26
27   necessary, HSD denies all allegations in this paragraph.
28
           3.2    Admit.
29
     ANSWER TO PLAINTIFF’S COMPLAINT AND
30   DEMAND FOR JURY - page 6                              Evans, Craven & Lackie, P.S.
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 1         3.3    Admit.
 2
           3.4    HSD is without sufficient information to admit or deny the
 3
 4   allegations contained in Paragraph 3.4 of Plaintiff’s Complaint and therefore
 5
 6
     deny the same.
 7         3.5    HSD denies the allegations contained in Paragraph 3.5 of Plaintiff’s
 8
 9
     Complaint.
10         3.6    Paragraph 3.6 of Plaintiff’s Complaint consists of legal conclusions
11
12   to which no response is deemed necessary. To the extent a response is deemed
13
     necessary, HSD denies all allegations in this paragraph.
14
15         3.7    HSD denies the allegations contained in Paragraph 3.7 of Plaintiff’s
16
     Complaint.
17
18         3.8    HSD denies the allegations contained in Paragraph 3.8 of Plaintiff’s
19
     Complaint.
20
21         3.9    HSD denies the allegations contained in Paragraph 3.9 of Plaintiff’s
22
     Complaint.
23
24         3.10 HSD denies the allegations contained in Paragraph 3.10 of
25
     Plaintiff’s Complaint.
26
27   ///
28
     ///
29
     ANSWER TO PLAINTIFF’S COMPLAINT AND
30   DEMAND FOR JURY - page 7                              Evans, Craven & Lackie, P.S.
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 1           CAUSE OF ACTION NO. 2 – VIOLATION OF RCW 49.60.180
 2
           3.11 Paragraph 3.11 of Plaintiff’s Complaint consists of legal
 3
 4   conclusions to which no response is deemed necessary. To the extent a response
 5
 6
     is deemed necessary, HSD denies all allegations in this paragraph.
 7         3.12 HSD denies the allegations contained in Paragraph 3.12 of
 8
 9
     Plaintiff’s Complaint.
10         3.13 HSD denies the allegations contained in Paragraph 3.13 of
11
12   Plaintiff’s Complaint.
13
                         CLAIM FOR LIQUIDATED DAMAGES
14
15         3.14 Paragraph 3.14 of Plaintiff’s Complaint consists of legal
16
     conclusions to which no response is deemed necessary. To the extent a response
17
18   is deemed necessary, HSD denies all allegations of liability.
19
           3.15 Paragraph 3.15 of Plaintiff’s Complaint consists of legal
20
21   conclusions to which no response is deemed necessary. To the extent a response
22
     is deemed necessary, HSD denies all allegations of liability.
23
24                              IV.   PRAYER FOR RELIEF
25
           HSD denies that Plaintiff is entitled to any relief from HSD in this matter,
26
27   and further denies the existence, nature and extent of Plaintiff’s claimed injuries
28
     and damages.
29
     ANSWER TO PLAINTIFF’S COMPLAINT AND
30   DEMAND FOR JURY - page 8                                Evans, Craven & Lackie, P.S.
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 1                                      JURY DEMAND
 2
             In accordance with F.R.C.P. 38 and pursuant to the Seventh Amendment,
 3
 4   Defendant hereby joins in Plaintiff’s demand that this matter appear before a
 5
 6
     jury.
 7                               AFFIARMATIVE DEFENSES
 8
 9
             1.    Plaintiff failed to seek reemployment with Defendant upon her
10   return from leave, and as such, she failed to state a claim upon which relief can
11
12   be granted;
13
             2.    Plaintiff failed to maintain her teaching certificate as required by
14
15   Washington law, and therefore was not “qualified” as required by USERRA in
16
     order to return to her teaching position with Defendant.
17
18           3.    Plaintiff has failed to mitigate her damages, if any.
19
             4.    Plaintiff’s claimed injuries and damages are the result of Plaintiff’s
20
21   own actions or inactions.
22
             DATED this 22nd day of March, 2021.
23
                                       EVANS, CRAVEN & LACKIE, P.S.
24
25
26                               By:         s/ Michael E. McFarland, Jr.
                                       MICHAEL E. McFARLAND, JR., #23000
27
                                       Attorneys for Defendant
28
29
     ANSWER TO PLAINTIFF’S COMPLAINT AND
30   DEMAND FOR JURY - page 9                                 Evans, Craven & Lackie, P.S.
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           Case 2:21-cv-00147-RSL Document 8 Filed 03/22/21 Page 10 of 10



 1                            CERTIFICATE OF SERVICE
 2
           I hereby certify that on March 22, 2021, I electronically filed the foregoing
 3
 4   with the Clerk of the Court using the CM/ECF System which will send
 5   notification of such filing to the following:
 6         Matthew Z. Crotty
 7         Crotty & Son Law Firm PLLC
           905 W. Riverside, Suite 404
 8
           Spokane, WA 99201
 9         Email: matt@crottyandson.com
10
           Thomas G. Jarrard
11
           The Law Office of Thomas G. Jarrard, PLLC
12         1020 N. Washington Street
13         Spokane, WA 99201
14
           Email: tjarrard@att.net
15
16
17
                                            s/ Michael E. McFarland, Jr.
18                                    MICHAEL E. McFARLAND, #23000
19                                    Attorney for Defendant
20                                    Evans, Craven & Lackie, P.S.
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28
29
     ANSWER TO PLAINTIFF’S COMPLAINT AND
30   DEMAND FOR JURY - page 10                              Evans, Craven & Lackie, P.S.
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